
701 S.E.2d 669 (2010)
STATE of North Carolina
v.
Markese Donnell RICE.
No. 216P10.
Supreme Court of North Carolina.
August 26, 2010.
Geoffrey W. Hosford, Wilmington, for Markese Donnell Rice.
Charles E. Reece, Assistant Attorney General, for State of NC.


*670 ORDER

Upon consideration of the petition filed on the 25th of May 2010 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 26th of August 2010."
